         Case
AO 121 (Rev 06/16)1:23-cv-00146-LEK-WRP                      Document 14 Filed 06/06/23 Page 1 of 4 PageID.70
TO:

                 Register of Copyrights                                                              REPORT ON THE
                 U.S. Co1>yright Office                                                      FILING OR DETERMINATION OF AN
               lOl lnclepenclence Ave. S.E.                                                         ACTION OR APPEAL
               Washington, D.C. 20559-6000                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                      COURT NAME AND LOCATION
        liZI ACTION         □ APPEAL
DOCKET NO                       DATE FILED
                                                                           United States District Court for the District of Hawaii
CV 23-00146 LEK-WRP                        3/23/2023
PLAINTIFF                                                                         DEFENDANT

     STRIKE 3 HOLDINGS, LLC                                                         JOHN DOE subscriber assigned IP address
                                                                                    72.234.140.214


        COPYRIGHT                                           TITLE OF WORK                                               AUTHOR OR WORK
     REGISTRATION NO.

l SEE ATTACHED

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                   INCLUDED BY
                                          D Amendment                 D Answer               D Cross Bill           D Other Pleading
        COPYRIGHT                                           TITLE OF WORK                                               AUTHOR OF WORK
     REGISTRAHON NO.

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED Notice of Voluntary Dismissal attached         \VRITTEN OPINION ATTACHED                                     DATE RENDERED

            D Order         D Judgment                                  D Yes          □ No                                       6/212023

CLERK                                                        (BY) DEPUTY CLERK                                             DATE
    Lucy H. Carrillo, Clerk                                   Isl EA, Deputy Clerk                                               616/2023

                   I) Upon initiation of action,               2) Upon filing of document adding copyright(s),     3) Upon termination of act ion,
                      mail copy to Register of Copyrights         mail copy to Register of Copyrights                  mail copy to Register of Copyrights
DISTRIBUTION:
                   4) In the event ofan appeal, forward copy to Appellate Court                5) Case File Copy
                            Case 1:23-cv-00146-LEK-WRP Document 14 Filed 06/06/23 Page 2 of 4 PageID.71


                                                            Exhibit A to the Complaint
Location: Honolulu, HI                                                                                      IP Address: 72 .234.140.214
Total Works Infringed: 25                                                                                   ISP: Hawaiian Telcom

 Work       Hashes                                                                  UTC             Site           Published       Registered    Registration
 1         Info Hash: 21631802DAA040229CCC2DE1D5D216DA12CDA353                             02-28-   Tushy          02-26-2023      03-06-2023    PA0002399996
           File Hash:                                                                        2023
           96872EAC149F771891AA191A88A688562065865A387742B71587D9AB58BD4F21              17:17:43
 2          Info Hash: 8E202BD15F53469FCA55E7FA5318F50F33C45761                            02-26-   Tushy          02-19-2023      03-06-2023    PA0002399999
            File Hash:                                                                       2023
            6F68E3CB48511B9ACB05315417CFA4B4B8BC74ADBB1E7B705191310BA77B3154             22:28:45
 3         Info Hash: 9DCAA506FCD18CBC43374B59DCF295D275F78689                             02-26-   Blacked        02-18-2023      03-06-2023    PA0002399995
           File Hash:                                                                        2023   Raw
           41CF2342AC870E5B1224E13FEBF21489DABF19588367A5E809C47AADC4FD17FE              00:29:50
 4         Info Hash : 6C8838FC8D9E67B9CEDE5A554638A6CEFFE917CB                            02-26-   Blacked        02-25-2023      03-07-2023    PA0002400308
           File Hash :                                                                       2023
           97333BD8DC54DA715AE592D8451678A45FDA5E953386A1AADC18A463C48E676C              00:05:53
 5         Info Hash : BDD77BD8D64D940C3Cll3FE65070711EB153013B                            02-14-   Tushy          02-12-2023      03-07-2023    PA0002400309
           File Hash :                                                                       2023
           9AA865FBFC08131F909CB29A254EEA4B6C42B3DED82BF9919A680C7F052D362D              07:21:33
 6         Info Hash : D BA674E 141 B23 DCD03 F78CE3Cl 75 EB5 F379 FE B21                  02-14-   Blacked        07-09-2022      07-22 -2022   PA0002359462
           File Hash:                                                                        2023
           5E9ClF1CECDDAAB442B2745AE8EBD3C988830875C5BE3C3B6868B6DAD120A0AC              07:13:02
 7         Info Hash: 99668E32A1637C328EBF8A57212864C42943EO0A                             02-14-   Tushy          11-20-2022      12-11-2022    PA0002384715
           File Hash:                                                                        2023
           7FDDF8B0B1F88AA554C2DA073EBD857DFAC0AF14AE2FF4CAD7E4E4E24EEC969A              07:05:18
 8          Info Hash: BC9B734ECFA71CA5DD4B0C8BFF63DCFC902B4E3D                            02-14-   Tushy          07-31 -2022     08-30-2022    PA0002367738
            File Hash:                                                                       2023
            E8D259C7E52328D88E0892DC5B27907354B2A6DCF45A77FD9C824FD513CB2824             07:01:05
 9         Info Hash: E39F895D4E58E9EA65935691E4A56CFB734D2130                             02-05-   Vixen          02-03 -2023     03-07-2023    PA0002400312
           File Hash:                                                                       2023
           373DA38A6EE57F5FE551626B91C3993D8C1B3FE6537F8F531778AFFFFB969F96              18:13:10
 10         Info Hash : 00FEEAC5BBCEC2BDD60F53DE2F8D48FE998AB0D8                           02-01-   Tushy          01-29-2023      03-07-2023    PA0002400310
            File Hash:                                                                       2023
            F02B8F6739A45B42F9007334F70C0C6399B08182423865E59F66ADD95DE1D2E2             17:39:27
 11         Info Hash : 9D0E6395886BD6D9F2435B40F907FF75184571C8                           01-29-   Vixen          11-04-2022      12-11-2022    PA0002384755
            File Hash:                                                                       2023
            B972F5E8B10A1E9A75F37EB4DCA61E749E0C08EF0A1665D59A2FA625E3D1A235             00:22:01
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Work   Hashes                                                             UTC            Site      Published     Registered    Registration
12     Info Hash: 85A7D0B69B29F022A4B36BABF4A15380FFC542F8                   01-28-      Vixen     11-11-2022    12-11-2022    PA0002384688
       File Hash:                                                              2023
       13BACABECD8E03B9B75B816C38FF0A84D29DB71AC59380B290D954FD5C621531    23:56:59
13     Info Hash: COA2ECD28E56C3B0C99FFB648519AE03B45CD352                   01-28-      Blacked   01-07-2023    01-27-2023    PA0002393078
       File Hash:                                                              2023
       546410AC2AB27879EB515B7BE995E2B772F4D93C2BAF048BC57CB7DED82661A3    23:46:58
14     Info Hash: 00C56C20D92364F6582DFFD455CBECFB42580CEB                   01-28-      Blacked   12-31 -2022   01-10-2023    PA0002389580
       File Hash:                                                              2023
       98FCFFFAD004377A839F752D05E1B458CD0CE36DB3BD98D65545D27F32C477EE    23:45:21
15     Info Hash: 3AD0F06F038FCEA6C738A2A93D38C5FB6CCC288C                   01-28-      Blacked   01-28-2023    03-07-2023    PA0002400316
       File Hash:                                                               2023
       407A453E1507FB5ED0407941EB7B782BBDF76C8794AB5A3E3A6E1E5FEA354EAD    23 :20 :49
16     Info Hash: A25685687023EF84BFF6D91D0BBD873DCOF6B275                      11-15-   Blacked   11-12-2022    12-11-2022    PA0002384761
       File Hash :                                                             2022
       D104235CB186000257EFEC44D37009138ED666B5A0AF953262BC8DC8878B6C1E    19:25 :49
17     Info Hash: 9191BBB92E06E8742E9F6D0F6DDF1B55DF5096B5                      11-15-   Tushy     11-13-2022    12-11-2022    PA0002384758
       File Hash :                                                             2022
       D2341F49BEC2F2FA6B25090A6B4694E3E8D0D68883109D9BD06A823F61DCC810    19:05 :12
18     Info Hash: D4414E1 E954985552282 ECOl BA093 EFC905 FC4BC                 10-02-   Tushy     09-18-2022    10-05 -2022   PA0002373759
       File Hash:                                                              2022
       77324052D00723989E8C099AC2AA8D3154464B79F15BA040862E8E9C49101D5B    02:25:20
19     Info Hash: 95505D61714FFB8D1CAF8705030B81CE51F3A19B                      08-30-   Blacked   08-27-2022    10-05 -2022   PA0002373768
       File Hash:                                                              2022
       B8AA21BB37C16CA8759EC603E9F67A617F87E4373D6AFD1C83300B78A7ED257E    01:34:30
20     Info Hash: 37A113E7812CE3A6E9AA5DC3E6BAD7604000771C                   08-17-      Tushy     08-14-2022    08-30-2022    PA0002367744
       File Hash:                                                              2022
       FB67C7CD80CEBFE4CEF574F6A19ED8B35FF92DB7458CA42570C7CCD270892191    19:27:52
21     Info Hash: DDF350312A2BD423AF62147F3BF6ADAED1492CC4                   07-12-      Tushy     07-10-2022    07-22 -2022   PA0002359469
       File Hash:                                                              2022
       81DF4D8A07F0EFCB6F4C11869DD86F8CC7AE49E1D24E4B61843A53683C366378    07:23:34
22     Info Hash : 914658A5BDB2C4B7F6DC0068A0CD8620BD6BD78B                  05-26-      Blacked   05-23 -2022   06-27-2022    PA0002355031
       File Hash :                                                            2022       Raw
       86431A12471F040E4720728ED2CB6B29A140CCE1AF9EEAF6A8B527601AB33194    19:10:14
23     Info Hash : 5E895C99167DC14F740D578515707EA3BFA9FOF2                  05-07-      Blacked   03-26-2022    04-23 -2022   PA0002346435
       File Hash :                                                            2022
       8679396D7C6C4417C6CF4ECB1616891043F523FAA8D5702A2057AC953380AA1C    22:48:14
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Work   Hashes                                                             UTC            Site    Published    Registered   Registration
24     Info Hash: 0AA6DD562221A3EOEA13E8B920FSSF81B136E7A9                   04-23-      Vixen   11-20-2020   11-30-2020   PA0002266357
       File Hash:                                                              2022
       9BEE6F1526B4D9328457CE16407EDB1F37E0724D91EFE21679E4CDAED163F1EF    23:16:44
25     Info Hash: 3F1E4F5B33AD60766F9B6E48F7B1F01966C7953D                      01-12-   Tushy   11-28-2021   02-14-2022   PA0002335497
       File Hash:                                                              2022
       1834710524F74EC2B9A45E00D2EEE8343131B7FB1A25895C7F9AC9A28393D893    02:43:35
